       Case 1:18-cr-00258-BLW Document 1420 Filed 05/02/22 Page 1 of 7




                      UNITED STATES DISTRICT COURT

                        FOR THE DISTRICT OF IDAHO

  UNITED STATES OF AMERICA
                                              Case No. 1:18-cr-00258-BLW

        Plaintiff,                            MEMORANDUM DECISION
                                              AND ORDER RE: DEFENDANT
         v.                                   MIKHAIL IYERUSALIMETS’
                                              MOTION TO PRECLUDE
  PAVEL BABICHENKO, PIOTR                     GOVERNMENT FROM
  BABICHENKO, TIMOFEY                         UTILIZING LATE DISCOVERY
  BABICHENKO, KRISTINA                        IN SECOND TRIAL (DKT. 1350)
  BABICHENKO, DAVID BIBIKOV,
  ANNA IYERUSALIMETS, and
  MIKHAIL IYERUSALIMETS,

        Defendants.



                                INTRODUCTION

      The Court set a discovery deadline of February 16, 2022, pursuant to the

agreement reached by the parties. (Dkt. 1225.) After that deadline passed, the

Government disclosed a significant amount of additional discovery. Defendant

Mikhail Iyerusalimets moves the Court to preclude the Government from using all

discovery disclosed after the discovery deadline during the second trial. (Dkt.

1350.) The Court will grant the motion in part and deny it in part.




MEMORANDUM DECISION AND ORDER - 1
       Case 1:18-cr-00258-BLW Document 1420 Filed 05/02/22 Page 2 of 7




                                    ANALYSIS

      A. February 17 Disclosure

      On February 17, 2022, the day after the discovery deadline, the Government

produced 173 files, consisting of approximately 1,109 pages of discovery that

includes Amazon material, AT&T material, USPS material, defendant interview

transcripts, FBI and HSI reports, Jencks material, and a declaration from

Government expert Pollock. The Government concedes that the production of this

discovery was untimely, but explains that the untimeliness was due to a

calendaring error by the Government’s counsel. The Government has also

produced an email sent to Defense counsel by the Government’s counsel on

February 17, 2022, explaining the error and apologizing for the one-day delay in

producing the discovery. (Dkt. 1387-1.) Further, the Government represents that it

seeks only to use the Amazon and USPS (mail) records in its case-in-chief.

      There is no indication that the one-day delay in producing this discovery was

the result of bad faith, that the delay in any way prejudiced Defendants, or that the

delay otherwise warrants exclusion of this evidence. Accordingly, the Court will

deny the motion to the extent it seeks to preclude the Government from utilizing

the Amazon and USPS (mail) records disclosed on February 17, 2022, in its case-

in-chief. The Court will also deny the motion to the extent it seeks to preclude the

Government from using the remaining records disclosed on February 17, 2022, for


MEMORANDUM DECISION AND ORDER - 2
       Case 1:18-cr-00258-BLW Document 1420 Filed 05/02/22 Page 3 of 7




rebuttal purposes only.

      B. February 23 Disclosure

      On February 23, 2022, the Government disclosed 1 file consisting of 1 page

of an Amazon Excel spreadsheet that was apparently mistakenly omitted from the

February 17, 2022, discovery disclosure. As with the February 17 disclosure, there

is no indication that the delay in disclosing this spreadsheet was the result of bad

faith, that the delay prejudiced Defendants, or that the delay otherwise warrants

exclusion of the spreadsheet. Accordingly, the Court will deny the motion to the

extent it seeks to preclude the Government from utilizing the one page Amazon

spreadsheet disclosed on February 23, 2022.

      C. March 2022 Disclosures

      The Government made additional voluminous discovery disclosures during

March 2022. These disclosures include:

          • Artur Pupko material and additional material from AT&T produced

              on March 9, 2022, consisting of 57 files and 103 pages;

          • AT&T Rule 902 certification produced on March 14, 2022,

              consisting of a single page;

          • Text message conversations extracted from Mr. Pupko’s phone

              produced on March 15 or 16, 2022, via USAfx upload, consisting of

              20 files and 8,018 pages.


MEMORANDUM DECISION AND ORDER - 3
       Case 1:18-cr-00258-BLW Document 1420 Filed 05/02/22 Page 4 of 7




          • Additional information extracted from Mr. Pupko’s phone, produced

             by the Government by uploading the extracted information onto a

             hard drive that was sent via overnight mail to the Discovery

             Coordinator on March 16, 2022, and consisting of approximately 500

             GB of information.

(See Dkt. 1350 at 2-3.)

      Specific to the 500 GB of discovery produced on the hard drive, the Defense

has provided information indicating that 1 GB of information is equivalent to

100,099 pages of emails; 64,782 pages of word files: 677,963 pages of text

messages; or 15,477 image files. Based on this, the amount of discovery in the 500

GBs provided by the Government on about March 17, 2022, would be massive or,

as Defense counsel characterizes it, “obscene.” (Dkt. 1350 at 4.) The Government

concedes that this evidence is “voluminous.”

      The Court is extremely troubled by the Government’s ongoing failure to

timely comply with the Court’s deadlines. This is particularly troubling given the

massive nature of this information dump, including from the Pupko phone, a

month after the discovery deadline. Also disturbing is the fact that the Government

is now taking the position that the extraction and disclosure from the Pupko phone

was made “to ensure compliance with any Brady obligation.” (See Dkt. 1387.)

However, as the Defense points out, it is likely that the Pupko phone has been in


MEMORANDUM DECISION AND ORDER - 4
       Case 1:18-cr-00258-BLW Document 1420 Filed 05/02/22 Page 5 of 7




the Government’s possession since sometime in 2018. Any disclosure required

under Brady should have thus been made long ago, and certainly before the first

trial. Yet the Government apparently never provided—until March 2022—any

information from the Pupko phone.1

      The Court would be hard pressed to find it appropriate to allow use of the

evidence produced in March 2022 in the Government’s case-in-chief. The

Government, apparently recognizing as much, has agreed to not to do so. Further,

the Government represents that “the portion of [the Pupko phone] extraction the

Government may use on rebuttal, if necessary, is a much smaller series of

messages between Artur Pupko, the Defendants, and co-conspirators—all of which

were separately produced in .pdf format to defense counsel via USAfx upload on

March 15.” (Dkt. 1387 at 5.)

      Based on the foregoing, and the extremely late disclosure, the Court will

preclude the Government from using any evidence disclosed in March 2022 in its

case-in-chief. The Court will, however, allow the Government to use a limited




      1
        The Government attempts to muddy the waters on the timing issue by
representing that it did not have the extraction from the Pupko phone until February
2022, and that it produced the extraction shortly thereafter. However, the Government
does not deny that it has had the phone since 2018, and fails to explain why it did not
conduct the extraction prior to the first trial.



MEMORANDUM DECISION AND ORDER - 5
       Case 1:18-cr-00258-BLW Document 1420 Filed 05/02/22 Page 6 of 7




portion of this evidence for purposes of rebuttal only. Specifically, the Court will

allow the Government to use, for rebuttal purposes only, the discovery disclosed

on March 9, 2022; the discovery disclosed on March 14, 2022; and the discovery

disclosed on March 15, 2022, via USAfx upload, consisting of text message

conversations extracted from Mr. Pupko’s phone. The Government may not use

any other evidence produced in March 2022 for rebuttal purposes, or any other

purpose, during trial.

                                      ORDER

      IT IS ORDERED that Defendant Mikhail Iyerusalimets’ motion to preclude

the Government from utilizing late discovery (Dkt. 1350) is GRANTED in part

and DENIED in part as follows:

   1. The Government is not precluded from using the Amazon and USPS (mail)

      records disclosed on February 17 and 23, 2022, in its case-in-chief.

   2. The Government is precluded from using the remaining evidence disclosed

      on February 17 and 23, 2022, in its case-in-chief but may use that evidence

      for rebuttal purposes only.

   3. As to the evidence produced in March 2022:

      a. The Government is precluded from using the evidence produced in its

          case-in-chief.




MEMORANDUM DECISION AND ORDER - 6
      Case 1:18-cr-00258-BLW Document 1420 Filed 05/02/22 Page 7 of 7




     b. The Government is not precluded from using the following evidence

        produced in March 2022 for rebuttal purposes only:

               i. Discovery disclosed on March 9, 2022;

              ii. Discovery disclosed on March 14, 2022;

             iii. Discovery disclosed on March 15, 2022, in .pdf format via

                  USAfx upload, consisting of text message conversations

                  extracted from Mr. Pupko’s phone.

        c. The Government is precluded from using the remaining evidence

           produced in March 2022 for rebuttal purposes or any other purpose

           during trial.



                                          DATED: May 2, 2022


                                          _________________________
                                          B. Lynn Winmill
                                          U.S. District Court Judge




MEMORANDUM DECISION AND ORDER - 7
